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      1                   UNITED STATES DISTRICT COURT
      2                  EASTERN DISTRICT OF CALIFORNIA
      3                                 --o0o--
      4 G.P.P., INC.,                 ) Case No. 16CV00321-SKO
                                      )
      5           Plaintiff,          )
                                      )
      6       vs.                     ) Fresno, California
                                      ) Friday, June 23, 2017
      7 GUARDIAN PROTECTION PRODUCTS, ) 8:30 A.M.
        INC.,                         )
      8                               )
                  Defendant.          )
      9                               ) VOLUME IV
     10                        TRANSCRIPT OF TRIAL
                      BEFORE THE HONORABLE SHEILA K. OBERTO
     11            UNITED STATES MAGISTRATE JUDGE, and a jury
     12
          APPEARANCES:
     13
          For the Plaintiff:                DYLAN LIDDIARD, ESQ.
     14                                     COLLEEN BAL, ESQ.
                                            Wilson Sonsini
     15                                     650 Page Mill Road
                                            Palo Alto, California 94304
     16                                     (650) 565-3535
     17                                     JOHN FLYNN, ESQ.
                                            CRAIG BOLTON, ESQ.
     18                                     JASON MOLLICK, ESQ.
     19 For the Defendants:                 AARON RUDIN, ESQ.
                                            CALVIN DAVIS, ESQ.
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     21                                     52nd Floor
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     22                                     (213) 576-5000
     23

     24
        Proceedings recorded by electronic sound recording;
     25 transcript produced by transcription service.




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      1 A     It was an accommodation that -- just to quiet the noise
      2 so we could deal with the things at hand.

      3 Q     And what did you say in response to Mr. Gipson's demand
      4 to be paid the same as the Metro deal?

      5 A     Well, I responded that we weren't selling into his
      6 territory, that Bob's was selling into his territory, and he

      7 said "Well, you're shipping to a distribution center."
      8 There's a -- a complimentary kit that we give away that was
      9 going to a distribution center, but I said, "We'll

     10 accommodate you with the same thing we do for Metro."

    11 Q      You told him you would do the same thing you were doing
    12 at Metro, is that right?

    13 A      That is correct.
    14 Q      Did you get anything in exchange for this from GIS for
    15 agreeing to pay them that commission?

    16 A      Just a little bit of quiet in the room, but no, no,
    17 sir.
    18 Q      And did you later decide to stop making those payments?
    19 A      We did.
    20 Q      Tell me why.
    21 A      We gave them the same deal we gave Metro, and we
    22 stopped paying Metro as well.

    23 Q      Okay.   Another subject here, Mr. Holman.    There's been
    24 some confusion in the case over some of the corporate names
    25 here between RPM Wood Finishes Group an RPM Wood Finishes




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      1 Group, Inc., and I want to ask you that, and if I get

      2 confused in my questions about those names, please correct
      3 me.
      4 A     Okay.
      5               MR. FLYNN:   Objection, your Honor.   That question
      6 is argumentative and is suggestive.       There's not been any
      7 confusion.     There's been clear testimony on that issue.
      8               MR. DAVIS:   I'll withdraw the question, your
      9 Honor.   Let me just move on.
     10               THE COURT:   Thank you.
     11 BY MR. DAVIS:

     12 Q     You run RPM Wood Finishes Group, is that right?
     13 A     That is correct.
     14 Q     What is that?
     15 A     So it's a -- an organization, a group of companies that
    16 are -- lack in sometimes market space that all report to me.
    17 Q      Okay.    Can you sort of explain the structure of RPM
    18 Wood Finishes Group for me?

    19 A      Well, a corporate parent puts a group of companies
    20 under me.      It's called -- referred to the RPM Wood Finishes
    21 Group.    Under the Wood Finishes Group heading, we have
    22 Lorel's, which is a manufacturer of coatings for furniture,

    23 cabinetry, fixtures that's located right outside Manchester
    24 in the UK.      We have Finish Works who is a distributor and a
    25 manufacturer of sorts of stains and coatings for furniture,




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      1 cabinetry, fixtures, millwork, some metal products as well.

      2 They have multiple locations in the U.S.           We have Guardian,
      3 Inc., which we've established sells furniture protection

      4 plans, and then we have RPM Wood Finishes Group, Inc., which

      5 is -- has two brands under it, CCI, and Mohawk.           Mohawk is
      6 -- sells touch-up and repair products and some distribution

      7 coating.   So they sell aerosols, markers, crayons for
      B touching up furniture, cabinetry, and then CCI is a supplier
      9 of industrial wood coatings to -- to factories.
     10 Q     Why are all these companies organized under RPM Wood
     11 Finishes Group, if you know?

     12 A     You know, they're all acquisitions that are bought and
     13 put under the Wood Finishes Group, just, again, lack in

     14 market and sometimes technology, sometimes not, but we serve

     15 a lot of the similar customer base.
     16 Q     Okay.    Who's the president of those companies you just
     17 named?

     18 A     I'm the president of each of those companies.
     19 Q     And remind me what did you say that RPM Wood Finishes
    20 Group, Inc. does?      What's its business?
    21 A      Well, there's two brands.          One brand is CCI.   They make
    22 coatings for -- for factory applications and interior wood

    23 products.      So they make coatings for kitchen cabinets.           They
    24 make coatings for furniture.          Could be hardwood flooring,
    25 could be millwork, any number of -- of factory applied




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      1 coatings.    We have -- and then we have Mohawk who sells
      2 distribution coating, but their real claim to fame is touch-

      3 up and repair products for furniture and cabinetry.

      4       Does RPM Wood Finishes Group, Inc. have anything to do
      5 with he business of Guardian, the furniture warranty
      6 company?
      7 A     No, sir.
      8 Q     Does PRM Wood Finishes Group which is making these
      9 aerosols, crayons, and coatings, have anything to do with
    10 the decision to terminate GIS?
    11 A      RPM Wood Finishes Group is not making -- so here's the
    12 confusion --
    13 Q      I think I used the wrong term.     I knew I was going to
    14 do that.     Does RPM Wood Finishes Group, Inc., which makes
    15 aerosols, crayons and coatings have anything to do with the
    16 decision to terminate GIS?

    17 A      No.
    18 Q      One last question.     In your role as president, do you
    19 get involved in the -- the corporate formalities of the

    20 business?

    21 A      No.   That's handled at a corporate level, and it -- it
    22 feeds down to us, but it's taken care of at a -- at a higher

    23 level.
    24              MR. DAVIS:   Nothing further, Mr. Holman.     Thank
    25 you.




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      1            ALL:   Thank you, your Honor.
      2            THE COURT:    Thank you very much.   Have a very nice
      3 weekend.

      4       (Proceedings recessed.)
      5

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    10

    11             I certify that the foregoing is a correct
    12 transcript from the electronic sound recording of the

    13 proceedings in the above-entitled matter.

    14

    15 /s/Crystal Thomas               6/24/2017
       Transcriber, AAERT CERT*654     Date
    16
       FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:
    17

    18
       /s/L.L. Francisco
    19 L.L. Francisco, President
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